           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                        WESTERN DIVISION

UNITED STATES OF AMERICA,
       Plaintiff,
                                               Case No. 24-CR-00198-SRB
v.

DELEON REED,
      Defendant.


                    MOTION FOR AN EXTENSION OF TIME
                       TO FILE PRETRIAL MOTIONS


      COMES NOW defendant Deleon Reed, by and through counsel, Laura

O'Sullivan, and respectfully requests this Court for an extension of time to file

pretrial motions. In support of this motion, Reed offers the following in support:

1.    On September 10, 2024, an Indictment was filed charging Mr. Reed. Mr.

      Reed is charged with one count of felon in possession of a firearm, in violation

      of 18 U.S.C. §§ 922(g)(1) and 924(a)(8), and one count of possession of a

      machinegun in violation of 18 U.S.C. §§ 922(o) and 924(a)(2). (Doc. 1).

2.    Mr. Reed was already detained as a result of supervised release violation

      allegations in 18-CR-00038. Mr. Reed remains in custody in both matters.

3.    The Court appointed undersigned counsel in this matter on September 11,

      2024. (Doc. 3)

4.    On September 18, 2024, Mr. Reed appeared before United States Magistrate

      Judge Lajuana M. Counts for his arraignment and detention hearing. The

      Court granted the government’s motion for pretrial detention finding Mr.


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     Reed ineligible for release on bail. Mr. Reed was remanded to the custody of

     the U.S. Marshal. The case was originally set to commence on the joint

     criminal jury trial docket of October 21, 2024. Undersigned counsel orally

     requested a continuance, and the Court set this matter on the joint criminal

     jury trial docket commencing January 6, 2025. (Doc. 5).

5.   On November 21, 2024, counsel moved to continue the trial setting. (Doc. 10).

     On November 26, 2024, the Court granted the motion to continue and set this

     matter on the joint criminal jury trial docket commencing June 2, 2025. (Doc.

     12, p. 1).

6.   Reed, and undersigned counsel require additional time to review the

     discovery, adequately investigate and determine whether any pretrial

     motions are appropriate in this matter. This cannot reasonably be done by

     January 27, 2025.

7.   Counsel reached out to Ashleigh Ragner, Assistant United States Attorney.

     As of the time of this filing, counsel had not received a response to our

     request for the government’s position on this motion.

8.   This extension is not sought for the purpose of dilatory delay but is sought in

     truth and fact that Reed may be afforded due process of law under the Fifth

     Amendment to the United States Constitution and afforded effective

     assistance of counsel under the Sixth Amendment to the United States

     Constitution.

         WHEREFORE, Reed respectfully requests this Court to extend the



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deadline for pretrial motions to February 24, 2025, and for whatever other relief

this Court deems just and proper.

                                              Respectfully Submitted,

                                              SANDAGE LAW LLC


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                          CERTIFICATE OF SERVICE

        On January 27, 2025, I served this document by depositing an electronic copy
of it in the Court’s electronic filing system, which shall distribute notice to all
attorneys of record.


                                              /s/ Laura O'Sullivan
                                              Laura O'Sullivan




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